    8:15-cb-00007-SMB        Doc # 16      Filed: 07/31/15   Page 1 of 1 - Page ID # 50




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                        8:15CB7
       vs.

                                                      Violation No. 4334856 NE22
TRACEY A. NUNN,
                                                          ORDER
                      Defendant.




       This matter comes before the Court upon the United States’ Motion to Dismiss (Filing

No. 15). The above-captioned violation notice is dismissed without prejudice.

      DATED this 31st day of July, 2015.


                                            BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
